Tirelli Law Group, LLC
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
WHITE PLAINS DIVISION
----------------------------------------------------------x
In re
         Braulio Ramirez                                                Chapter 13
                                                                        CASE NO. 16-23308 RDD

                           Debtor
----------------------------------------------------------x


       DEBTOR’S NOTICE OF VOLUNTARY DISMISSAL OF CHAPTER 13 CASE

        COME NOW the above-named Debtor, by and through his attorney of record, hereby voluntarily
dismiss the above-captioned Chapter 13 proceeding without prejudice pursuant to 11 U.S.C. Section
1307(b). In support of this election, the Debtor show unto the Court the following:

             1. This case was commenced by the filing of a voluntary Chapter 13 petition on September
     26, 2019.

            2. This case has not been previously converted under Sections 706, 112 or 1208 of the
     Bankruptcy Code.


This the 24th day of April 2019

/s/ Linda M. Tirelli
Linda M. Tirelli, Esq.
Tirelli Law Group, LLC
Attorney for Debtors
50 Main Street, Suite 1265
White Plains, NY 10606
Phone: (914)732-3222

I, Braulio Ramirez , hereby voluntarily dismiss my Chapter 13 bankruptcy case. I have been counseled by
my lawyer, Linda Tirelli, and fully understand that I will no longer be under bankruptcy protection and
understand the effect of dismissing my case.

/s/ Braulio Ramirez                                           April 24, 2019_____
Braulio Ramirez                                               Date
